                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

TONIA HARDYWAY,                               )
                                              )
               Plaintiff,                     )
                                              )
v.                                            )      CASE NO.: 3:22-cv-00037
                                              )      JUDGE RICHARDSON
DENIS MCDONOUGH, Secretary                    )      MAGISTRATE JUDGE NEWBERN
of the Department of Veterans Affairs,        )
                                              )
               Defendant.                     )

                   DEFENDANT’S REPLY IN SUPPORT OF HIS
             PARTIAL MOTION TO DISMISS PLAINTIFF’S COMPLAINT

       Defendant Denis McDonough, Secretary of the Department of Veterans Affairs, by and

through the undersigned counsel, files this Reply to Plaintiff’s Response Memorandum

(hereinafter “Response”) submitted in Opposition to Defendant’s Partial Motion to Dismiss

Plaintiff’s Complaint (see ECF No. 39), stating as follow:

       A.      Plaintiff’s Unexhausted Disparate Treatment Claim Should be Dismissed
               Because it Does Not Reasonably Grow Out of Her EEO Complaint

       To begin, Plaintiff does not argue in her Response that she ever exhausted a disparate

treatment claim. She did not, and that fact is undisputed. Nevertheless, Plaintiff argues that a

disparate treatment claim should be considered because “…[T]his Court is empowered to construe

Plaintiff’s Complaint liberally to include the scope of Plaintiff’s EEO administrative allegations

which can reasonably be expected to grow out of her charges.” ECF No. 39, PageID #: 355.

Plaintiff’s attempt to expand her claims in district court beyond those that were alleged and

adjudicated at the administrative level should be rejected.

       The claim raised in Plaintiff’s administrative EEO Complaint is hostile work environment.

A disparate treatment claim does not reasonably grow out of an alleged hostile work environment



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claim because these are completely different causes of action, requiring separate prima facie

elements of proof. Plaintiff offers no persuasive authority showing that a disparate treatment claim

is expected to grow out of a hostile work environment claim. And in fact, two cases cited by

Plaintiff 1 demonstrate that unrelated, unpled claims should not be considered.

         In Lattimore v. Polaroid Corp., 99 F.3d 456 (1st Cir. 1996), the plaintiff’s “administrative

charge plainly and specifically describe[d] his claim to be that he was discriminated against

because, unlike white workers who had been injured and applied for workers’ compensation

benefits, he was directed to return to work and was fired when he refused.” Id. at 464. The court

found that the plaintiff’s harassment claims were not reasonably within the scope of an agency

investigation of the plaintiff’s administrative charge. Id.

         In Bray v. Palm Beach County, 907 F.2d 150, 1990 WL 92672 (6th Cir. 1990), the plaintiff

filed an EEOC charge for retaliation but did not check the box “sex” discrimination, although she

did state in the body of the charge that two males had been chosen for the position she sought. Id.

at *1. After the investigation and conciliation efforts failed, the plaintiff filed a complaint for sex

discrimination in district court, but the district court dismissed the claim finding that it was not

based on a charge that had been filed with and investigated by the EEOC. Id. The Sixth Circuit

affirmed. Id. at *2.

         At a minimum Lattimore and Bray show that a plaintiff cannot attach a new, unexhausted

claim to a pending case and simply say it is reasonably expected to grow out of the EEO charge.

         Here, Plaintiff does attempt to link the disparate treatment claim to her EEO complaint by

reasoning that “the ROI [Report of Investigation], clearly proves the Plaintiff raised numerous

allegations of disparate treatment discrimination based on race during the EEO administrative



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    See Lattimore, ECF No. 39, PageID #: 361 and Bray, PageID #: 354-55.


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process.” ECF No. 39, PageID #: 355. Plaintiff then cherry-picks particular statements in the ROI

to support this proposition (id. at PageID #: 354-361), and now asks this Court to make an inference

in her favor. The Court should not do so. The Agency’s Partial Notice of Acceptance clearly lays

out the claims it will investigate. See ECF No. 28-1. Considering that Plaintiff amended this EEO

complaint four times (see ECF No. 1, ¶ 15), and has since filed many other EEO complaints, she

is well-versed in the EEO process and never once alleged disparate treatment. Asking the Court

to now “liberally construe” her complaint is simply asking too much. The disparate treatment

claim should be dismissed pursuant to Rule 12(b)(6) for failure to exhaust.

        B.      Plaintiff Has Exhausted Only Two Claims of Retaliation
        Defendant acknowledges that Plaintiff has exhausted two 2018 non-selections that

allegedly occurred in retaliation for engaging in protected activity. There are no other exhausted

claims of retaliation at issue in this case.

        Plaintiff points to the Agency’s Notice of Partial Acceptance and argues that she added

retaliation claims (ECF No. 39, PageID #: 361-365), but Plaintiff actually added reprisal as a basis

for the hostile work environment claim. During the informal EEO counseling period Plaintiff

raised a claim of hostile work environment based on age (over 40), race (black), sex (Female) and

religion (Christian). See ECF No. 28-1, ¶ 2. Later she added reprisal as an additional basis. Id.,

¶ 10.

        All of the enumerated allegations comprising the hostile work environment did not convert

to individual retaliation claims as Plaintiff suggests. See ECF No. 39, PageID #: 365 (“Given the

fact that the Agency itself considered all of these enumerated allegations as reprisal claims in the

administrative investigative phase, and the EEOC adjudicated the above-referenced allegations as

reprisal claims, the dye has been cast.”). In other words, even after adding reprisal as a basis,

Plaintiff still has only one cause of action: hostile work environment. But even if this Court accepts


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Plaintiff’s position that new retaliation claims exist, the claims will fail, nonetheless. The bulk of

the enumerated allegations occurred in 2016, before Plaintiff filed her EEO complaint. 2 Defendant

could not retaliate against Plaintiff where she had not yet engaged in protected activity.

       Furthermore, Plaintiff completely ignores that her demotion claim is still pending before

the MSPB, which means it too is essentially unexhausted. She cites no authority saying that she

can simultaneously litigate the same exact claim in district court that is on appeal in another forum.

Plaintiff contends that she “can proceed with the claim that her demotion was motivated, in part

or in whole, by reprisal under Title VII in federal court as a ‘mixed case’ appeal.” See ECF No.

39, PageID #: 366. Whether mixed case appeals can be heard by this Court completely misses the

point. Plaintiff’s unresolved MSPB case is not ripe for review because it has not reached finality.

       In sum, all unexhausted, unresolved retaliation claims should be dismissed from this suit

pursuant to Rule 12(b)(6).

       C.      Plaintiff’s Alleged Hostile Work Environment is Limited in Time and in Scope
       Plaintiff concedes that the alleged hostile work environment began on July 22, 2016. See

ECF No. 39, PageID #: 367. She contests the end date of March 8, 2017 (id.), even though at

Plaintiff’s EEO hearing she litigated an alleged hostile work environment up to that specific date. 3

Plaintiff seems to argue that a hostile work environment claim can continue indefinitely; she

certainly makes no attempt in the Complaint or her Response to specify otherwise. In fact, the

Complaint discusses an incident in April 2021, which is four years later. See ECF No. 1, ¶¶ 109-

114. Plaintiff also forecasts her intent to request leave of the Court to include more incidents that

occurred in February 2021. See ECF No. 39, PageID #: 366.



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  Plaintiff contacted the EEO counselor on October 28, 2016 and filed her formal EEO Complaint
on January 24, 2017. ECF No. 1, ¶¶ 9-10.
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  The end date was pinpointed by the EEOC Administrative Judge. ECF No. 28-2, pp. 19-20.


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       In support of Plaintiff’s position that the hostile work environment should not end on

March 8, 2017, she argues that “Defendant’s Partial Motion to Dismiss concedes that Plaintiff has

also administratively exhausted two 2018 non-selection allegations.” ECF No. 39, PageID #: 367.

Indeed, Defendant acknowledges that two 2018 non-selections have been exhausted but,

importantly, these discrete claims are not analyzed as part of the hostile work environment.

       The U.S. Supreme Court has distinguished between discrete acts of discrimination and non-

discrete acts. “Discrete acts such as termination, failure to promote, denial of transfer, or refusal

to hire are easy to identify.    Each incident of discrimination and each retaliatory adverse

employment decision constitutes a separate actionable ‘unlawful employment practice.’” Nat’l

R.R. Passenger Corp. v. Morgan, 536 U.S. 101, 114 (2002).              In contrast, a hostile work

environment claim is an amalgamation of incidents that “collectively constitute one unlawful

employment practice.” Id. at 117. Unlike discrete acts, the incidents that comprise a hostile work

environment claim “cannot be said to occur on any particular day” and by their “very nature,

involve repeated conduct.” Id. at 115.

       In accordance with the Morgan rationale, Plaintiff’s two 2018 non-selections (i.e., failure

to promote claims) are analyzed separately from her claim of hostile work environment because

they are discrete acts, and each constitutes a separate actionable unlawful employment practice. 4

The hostile work environment claim, on the other hand, includes various non-discrete events that

make up “one unlawful employment practice” spanning from July 22, 2016 to March 8, 2017. The

discrete events do not extend the end date of the hostile work environment claim.




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 The same is true for the February 2021 events referenced in Plaintiff’s Response (ECF No. 39,
PageID #: 366), in the event that Plaintiff amends her Complaint to add these claims to the case.


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                                        CONCLUSION

       For the reasons discussed above, Defendant respectfully requests that his Partial Motion to

Dismiss Plaintiff’s Complaint be granted. Defendant respectfully requests thirty days after the

Court rules on this motion to file its Answer to any claims remaining in Plaintiff’s Complaint.

                                                     Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 23, 2022, a copy of the foregoing was filed electronically.

Notice of this filing will be sent to the following, if registered, by operation of the Court’s

electronic filing system. If not registered, notice was sent by United States mail, postage prepaid,

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